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   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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     A.P., by and through her guardians ad          Case No. 2:19-cv-07965 MWF (SSx)
  11 litem, V.P. and B.P.; V.P. and B.P., as
  12 Individuals                                    JUDGMENT

  13               Plaintiffs,
  14        v.
  15
     PASADENA UNIFIED SCHOOL
  16 DISTRICT,
  17               Defendant.
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  21         In accordance with the Court’s Order Granting in part Plaintiffs’ Motion
  22   for Summary Judgment (Docket No. 43) and pursuant to Rules 52, 54, and 58 of
  23   the Federal Rules of Civil Procedure,
  24         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that final
  25   judgment be entered in favor of Plaintiffs V.P. and B.P, the parents of A.P., and
  26   against Defendant Pasadena Unified School District as follows:
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  1       1. Reimbursement for Bridges tuition costs incurred during the 2017-2018
  2          school year in the amount of $9,635.
  3       2. Reimbursement for costs incurred for Student’s psychological counseling
  4          from December 17 through the end of the 2017-2018 school year in the
  5          amount of $3,695.20.
  6       3. Reimbursement for transportation costs to and from Bridges incurred
  7          during the 2017-2018 school year in the amount of $1,321.30.
  8       4. Reimbursement for psychological services during the 2018-2019 school
  9          year that were focused on independent living tasks in the amount of
  10         $2,829.06.
  11      5. Attorneys’ fees and costs in the amount of $115,915.58.
  12         Accordingly, the total amount awarded is $133,396.14.
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  14   Dated: November 17, 2021
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                                              MICHAEL W. FITZGERALD
                                              United States District Judge
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